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 1                                   CERTIFICATE OF SERVICE
           I am a resident of the State of New York, over the age of eighteen years, and not a party
 2 to the within action. My business address is DEWEY & LeBOEUF LLP, 1301 Avenue of the
   Americas, New York, NY, 10019. On September 24, 2009, I served the within document:
 3
        DEFENDANTS’ JOINT REPLY BRIEF IN SUPPORT OF THEIR MOTION TO
 4      DISMISS     DIRECT PURCHASER PLAINTIFFS’ CONSOLIDATED AMENDED
                                              COMPLAINT
 5       I sent such document from facsimile machine on ______. I certify that said transmission was
            completed and that all pages were received and that a report was generated by facsimile machine
 6
            which confirms said transmission and receipt. I, thereafter, mailed a copy to the interested
            party(ies) in this action by placing a true copy thereof enclosed in sealed envelope(s) addressed
 7
            to the parties listed below.
8           by placing the document(s) listed above in a sealed envelope with postage thereon fully prepaid,
            in the United States mail, addressed as set forth below.
 9
            by personally delivering the document(s) listed above to the person(s) at the address(es) set forth
10          below.
11          I am readily familiar with Dewey & LeBoeuf’s business practices of collecting and processing
            items for pickup and next business day delivery by Federal Express. I placed such sealed
12          envelope(s) for delivery by Federal Express to the offices of the addressee(s) as indicated on the
            attached mailing list on the date hereof following ordinary business practices.
13
            I served the above-referenced document(s) via electronic transmission to the email address of the
14          addressee(s) as indicated below.

15          by electronically filing a true copy of each document listed above via the Court’s USDC Live
     ⌧      System – Document Filing System, which will serve a true copy of each document listed above
16          on all interested parties registered for electronic filing in this action.
17

18           I declare that I am employed in the office of a member of the bar of this court at whose
     direction the service was made.
19
              Executed on September 24, 2009, at New York, NY
20                                                                              s/Brian J. LaClair
                                                                                Brian J. LaClair
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     Certificate of Service
